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             23-7586-cv
             Cardinal Motors, Inc. v. H&H Sports Prot. USA Inc.


                                           UNITED STATES COURT OF APPEALS
                                               FOR THE SECOND CIRCUIT


                                                      August Term 2023

                                (Argued: June 27, 2024            Decided: February 6, 2025)

                                                    Docket No. 23-7586-cv


                                                 CARDINAL MOTORS, INC.,
                                                                      Plaintiff-Appellant,

                                                            - against -

                                         H&H SPORTS PROTECTION USA INC.,
                                                                            Defendant-Appellee.


                               ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                                   FOR THE SOUTHERN DISTRICT OF NEW YORK




             Before:
                               CHIN and SULLIVAN, Circuit Judges, and KELLY, Judge. *




             *
                           Judge Claire R. Kelly of the United States Court of International Trade,
             sitting by designation.
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                          Appeal from a judgment of the United States District Court for the

             Southern District of New York (Crotty, J.), granting Defendant-Appellee's motion

             pursuant to Fed. R. Civ. P. 12(b)(6) to dismiss the complaint in this action for

             trade dress infringement and unfair competition under Section 43(a) of the

             Lanham Act, 15 U.S.C. § 1125(a), and analogous state laws. The district court

             held that Plaintiff-Appellant failed in the operative complaint to articulate with

             precision the trade dress of its motorcycle helmet, including how the trade dress

             was distinct. We conclude that the district court erred in its application of the

             articulation requirement in trade dress infringement cases.



                          VACATED AND REMANDED.



                                        ANTHONY H. HANDAL, Handal & Morofsky, LLC,
                                            Norwalk, CT, for Plaintiff-Appellant.

                                        MICHAEL LANE (Brett M. Weaver, on the brief), Lewis
                                            Kohn & Walker, LLP, San Diego, CA, and Stefan
                                            Savic, Reinhardt Savic Foley LLP, New York, NY,
                                            for Defendant-Appellee.




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             CHIN, Circuit Judge:

                          We have long required plaintiffs pleading claims of trade dress

             infringement under the Lanham Act to articulate precisely the features of their

             trade dresses. See, e.g., Landscape Forms, Inc. v. Columbia Cascade Co., 113 F.3d 373,

             380-81 (2d Cir. 1997); Yurman Design, Inc. v. PAJ, Inc., 262 F.3d 101, 116-18 (2d Cir.

             2001). We clarify the contours of that requirement here.

                          Plaintiff-Appellant Cardinal Motors, Inc. ("Cardinal") brought this

             action in 2020, alleging that Defendant-Appellee H&H Sports Protection USA

             Inc. ("H&H") unlawfully copied its motorcycle helmet. The operative complaint

             asserted two counts under Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a),

             each alleging both unfair competition and trade dress infringement, and two

             counts of unfair competition under analogous state laws. In pleading those

             claims, Cardinal advanced two alternative theories of its trade dress, one called

             the "General Trade Dress" and the other called the "Detailed Trade Dress."

                          The district court dismissed Cardinal's complaint with prejudice on

             the basis that Cardinal "fail[ed] to sufficiently allege a precise expression of the

             trade dress, including how that trade dress is distinct." Cardinal Motors, Inc. v.

             H&H Sports Prot. USA, Inc., No. 20-CV-07899-PAC, 2023 WL 6257938, at *5



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             (S.D.N.Y. Sept. 26, 2023). That conclusion was based only on the district court's

             assessment of Cardinal's General Trade Dress theory, as the court held that it

             need not consider the sufficiency of the Detailed Trade Dress because that theory

             borrowed heavily from the General Trade Dress theory. Id.

                          We hold that the district court erred in dismissing Cardinal's trade

             dress claims for two reasons. First, this Court's requirement that a plaintiff

             articulate precisely the features of its trade dress at the pleading stage does not

             also require plaintiffs to articulate the distinctiveness of that trade dress. Second,

             it was error for the district court to assume the inadequacy of the Detailed Trade

             Dress based on the purported inadequacy of the General Trade Dress. We hold

             that both trade dresses were pleaded with the requisite precision. Accordingly,

             we VACATE the judgment and REMAND the case for further proceedings.

                                                BACKGROUND

                          We accept the material facts in the operative complaint as true and

             draw all reasonable inferences in Cardinal's favor. See Miller v. United States ex

             rel. Miller, 110 F.4th 533, 538 (2d Cir. 2024).

             I.     The Facts

                          Cardinal designs motorcycle helmets and licenses them for

             production and sale by other companies. For years, Cardinal has exclusively

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             licensed the design of its helmet, "The Bullitt," to Bell Sports, Inc. ("Bell"), which

             is itself "one of the largest manufacturers of motorcycle and bicycle helmets in

             the United States." App'x at 276-77 ¶ 18. The Bullitt has had significant

             commercial success since it first hit the market in 2014 and currently serves as

             "the flagship of Bell's motorcycle helmet product line." Id. at 277 ¶ 18; see also id.

             at 272 ¶ 14. Sold in "flat" and "bubble" versions, The Bullitt "is one of the most

             popular helmets made by Bell." Id. at 276-77 ¶ 18.

                          The Bullitt's popularity is attributable to its unique look and feel.

             Specifically, the helmet has two alternative trade dresses that render it

             distinguishable from other helmets. Its "General Trade Dress" consists of

                          [t]he features of the sculptural and graphic design of
                          The Bullitt (namely its distinctive general overall shape
                          with substantially curved top helmet shell shape, with
                          the substantially curved top transitioning substantially
                          smoothly into a thin chin protector extending roughly
                          perpendicular to an imaginary plane defined by the
                          helmet shell base; a flattish helmet shell base; a
                          relatively large eyeport height (compared to the height
                          of the chin protector); a single-level non-stepped chin
                          bar surface; a thin chin bar height substantially thinner
                          than the eyeport; a substantial rear overhang beyond a
                          theoretical vertical to the shell base giving the helmet a
                          squat appearance; and a large diameter pivot point
                          escutcheon . . . ) . . . .

             Id. at 272-73 ¶ 17. Its "Detailed Trade Dress," meanwhile, consists of

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                          [t]he look of the sculptural and graphic design of The
                          Bullitt (namely its distinctive general overall shape with
                          substantially curved top helmet shell shape, with the
                          substantially curved top transitioning substantially
                          smoothly into a thin chin protector extending
                          substantially perpendicular to an imaginary plane
                          defined by the helmet shell base; a flattish helmet shell
                          base; relatively large eyeport height as compared to the
                          chin bar height; single-level non-stepped chin bar
                          surface; relatively thin chin bar height; substantial rear
                          overhang beyond a theoretical vertical to the shell base;
                          and large diameter metallic-finished pivot point
                          escutcheon, and the Bullitt's metallic reflective
                          borderline on the bottom of the helmet and metallic
                          reflective borderline near the forward opening,
                          decorative leather overlay on top of the front opening,
                          brown leather-like arc segments, metallic bottom trim
                          and a brown leather trim patch, internal jig saw puzzle
                          part V-shaped cheek pads with their combination of
                          brown shiny leather and suede leather, and decorative
                          suede leather overlay on the back of the helmet (a
                          design element that resonates with the decorative
                          leather overlay on the front of the helmet) . . . ) . . . .




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             Id. at 284-85 ¶ 31. These design features make The Bullitt -- shown below --

             distinct and serves as an indication of its origin.




             Id. at 276.

                           As relevant here, H&H manufactures and sells a motorcycle helmet

             called the "Torc T-1." Similar to The Bullitt, the Torc T-1 comes in flat and bubble

             versions. Id. at 277 ¶ 19. And like The Bullitt, the Torc T-1 features metallic

             borders around the bottom and front opening of the helmet, "large decorative

             roundhead slotted screws with oversized decorative escutcheons . . . to secure

             the plastic visor," id. at 278 ¶ 20, and cheek pads made with a "combination of

             brown shiny leather and suede leather," id. at 280 ¶ 24. The two helmets also

             share similar technical specifications. Id. at 278 ¶ 21, 279 ¶ 22. The Torc T-1 and

             The Bullitt are shown below.


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                            The Bullitt                                 Torc T-1

             Id. at 276. Cardinal never authorized H&H to make any helmet incorporating

             The Bullitt's General Trade Dress or Detailed Trade Dress.

             II.    Procedural History

                          Cardinal commenced this action on September 24, 2020, alleging that

             H&H's Torc T-1 unlawfully copied The Bullitt. As relevant here, Cardinal's

             initial complaint principally alleged claims of unfair competition and trade dress

             infringement under federal law. App'x at 15-18. Cardinal thereafter amended its

             complaint on two separate occasions in an attempt to properly plead its trade

             dress claims, but the district court dismissed both amended complaints without

             prejudice because "each failed to adequately plead the claimed trade dress with

             precision or with allegations of its distinctiveness." Cardinal Motors, 2023 WL

             6257938, at *1 (summarizing procedural history).



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                          At issue in this appeal is the third amended complaint (the "TAC"),

             which Cardinal filed on October 4, 2022. To address the deficiencies in its prior

             complaints, Cardinal sought to emphasize The Bullitt's unique appearance in the

             TAC by articulating the two alternative trade dresses laid out above -- the

             General Trade Dress and the Detailed Trade Dress. The TAC asserted four

             counts: (1) federal unfair competition and product trade dress infringement

             based on the General Trade Dress; (2) federal unfair competition and product

             trade dress infringement based on the Detailed Trade Dress; (3) common law

             unfair competition under New York law; and (4) statutory and common law

             unfair competition under California law. App'x at 287-92.

                          On September 26, 2023, the district court granted H&H's motion to

             dismiss the TAC with prejudice. That dismissal disposed of Cardinal's Lanham

             Act claims in three steps.

                          First, the court dismissed claims premised on the General Trade

             Dress because Cardinal failed "to sufficiently [articulate] a precise expression of

             the trade dress, including how that trade dress is distinct." Cardinal Motors, 2023

             WL 6257938, at *5. In other words, the district court assumed that articulating a

             precise expression of a trade dress also required alleging its distinctiveness. The



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             district court reasoned that Cardinal failed to allege the distinctiveness of the

             General Trade Dress because it "encompasse[d] a description of the entire helmet

             and each of its components, making it so detailed that it render[ed] the claimed

             trade dress too broad." Id. at *4; see also id. at *5. Accordingly, because Cardinal

             failed to allege The Bullitt's distinctiveness, the district court concluded that

             Cardinal failed to allege a precise articulation of the General Trade Dress and

             failed to allege a plausible trade dress claim. The court thus dismissed Cardinal's

             trade dress infringement claim premised on the General Trade Dress without

             determining whether Cardinal plausibly alleged the elements of the claim.

             Id. at *5.

                            Second, the district court declined to separately consider whether

             the Detailed Trade Dress satisfied the same articulation requirement because the

             Detailed Trade Dress "rest[ed] in substantial part on the General Trade Dress

             upon which [Cardinal] fail[ed] to state a claim." Id. Instead, the court summarily

             concluded that claims based on the Detailed Trade Dress "fail[ed] for the same

             reasons." Id.

                            Third, the district court dismissed Cardinal's unfair competition

             claims based on state law, quoting a Second Circuit case on supplemental



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             jurisdiction and reasoning that "if all federal claims are dismissed before trial, the

             state claims should be dismissed as well." Id. (quoting Motorola Credit Corp. v.

             Uzan, 388 F.3d 39, 56 (2d Cir. 2004)).

                            Judgment was not entered in a separate document. 1 Cardinal filed a

             notice of appeal on October 23, 2023.

                            This appeal followed.

                                                    DISCUSSION

                            Cardinal contends that the district court erred by concluding that the

             General Trade Dress and Detailed Trade Dress failed to satisfy this Court's

             articulation requirement. Accordingly, Cardinal claims that the district court

             improperly dismissed the TAC. We agree.


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                            The district court did not enter judgment in a separate document, as
             required by Federal Rule of Civil Procedure 58(a). That oversight, however, "does not
             affect the validity of an appeal from that judgment or order." Fed R. App. P. 4(a)(7)(B).
             Where no separate document has been filed, we consider judgment entered after "150
             days have run from the entry in the civil docket" of the order at issue. Fed. R. Civ. P.
             58(c)(2)(B); see Joseph v. Leavitt, 465 F.3d 87, 89 (2d Cir. 2006). We similarly treat a notice
             of appeal filed by that date to be timely. See Fed. R. App. P. 4(a)(2). Moreover, "the
             separate document rule is deemed to have been waived and the assumption of
             appellate jurisdiction is proper" when (1) "an order appealed from clearly represents a
             final decision," and (2) "the appellee[] do[es] not object to the taking of an appeal." Do
             No Harm v. Pfizer Inc., 96 F.4th 106, 108 n.1 (2d Cir. 2024) (quoting Selletti v. Carey, 173
             F.3d 104, 109-10 (2d Cir. 1999)). Here, the district court granted H&H's motion to
             dismiss with prejudice on September 26, 2023, and H&H explicitly "waive[d] any
             objection to the assumption of appellate jurisdiction here." Appellee's Br. at 2. We
             therefore properly exercise jurisdiction over this case pursuant to 28 U.S.C. § 1291.
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             I.     Standard of Review

                            We review a district court's dismissal of a complaint for failure to

             state a claim de novo. See Int'l Code Council, Inc. v. UpCodes Inc., 43 F.4th 46, 53 (2d

             Cir. 2022). "To survive a motion to dismiss, a complaint must contain sufficient

             factual matter, accepted as true, to 'state a claim to relief that is plausible on its

             face.'" Id. (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)).

             II.    Applicable Law

                            We discuss the protections against trade dress infringement

             embodied in Section 43(a) of the Lanham Act, the elements of a trade dress claim

             based on the design of a product, and the articulation requirement for trade dress

             infringement claims.

                    A.      Trade Dress Protection Under Section 43(a) of the Lanham Act

                            Section 43(a) of the Lanham Act provides a right of action against

             any person who "uses in commerce any word, term, name, symbol, or device, or

             any combination thereof," in a way that "is likely to cause confusion, or to cause

             mistake, or to deceive . . . as to the origin, sponsorship, or approval of his or her

             goods." 15 U.S.C. § 1125(a)(1). Trade dress -- a term that generally encompasses

             the "look" of a product -- is a "symbol" or "device" for purposes of this section.



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             See Wal-Mart Stores, Inc. v. Samara Bros., 529 U.S. 205, 209 (2000). Accordingly,

             "Section 43(a) of the Lanham Act protects trade dress," Nora Beverages, Inc. v.

             Perrier Grp. of Am., Inc., 269 F.3d 114, 118 (2d Cir. 2001), making it "one of the few

             provisions [of the act] that goes beyond trademark protection," Dastar Corp. v.

             Twentieth Century Fox Film Corp., 539 U.S. 23, 29 (2003).

                            Although the term "trade dress" was originally meant to encompass

             only the packaging of products, courts have expanded its meaning to also

             encompass "the design or configuration of the product itself." Yurman Design,

             262 F.3d at 114; see also Samara Bros., 529 U.S. at 209. At the same time, however,

             "courts have exercised particular 'caution' when extending protection to product

             designs," because carelessly granting protection to ordinary product designs

             "would create a monopoly in the goods themselves" and "hamper efforts to

             market competitive goods." Landscape Forms, 113 F.3d at 380; see also Jeffrey

             Milstein, Inc. v. Greger, Lawlor, Roth, Inc., 58 F.3d 27, 32-33 (2d Cir. 1995) (noting

             that trade dress law protects only "the concrete expression of an idea" and not

             "an idea, a concept, or a generalized type of appearance"). Over time, the courts

             have crafted specific pleading requirements for trade dress infringement claims

             based on product design.



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                    B.      The Elements of a Product-Design Trade Dress Infringement
                            Claim

                            To plead a claim for trade dress infringement based on product

             design, a plaintiff must plead that (1) its product design is distinctive, (2) there is

             a likelihood of confusion between its product design and that of the defendant,

             and (3) its product design is not functional. See Yurman Design, 262 F.3d at 115-

             16. These requirements are rooted in statute, see 15 U.S.C. § 1125(a), but both the

             Supreme Court and this Court have elaborated upon them, see, e.g., Samara Bros.,

             529 U.S. at 209-10; Yurman Design, 262 F.3d at 115-16; Christian Louboutin S.A. v.

             Yves Saint Laurent Am. Holdings, Inc., 696 F.3d 206, 217 (2d Cir. 2012); Louis

             Vuitton Malletier v. Dooney & Bourke, Inc., 454 F.3d 108, 114-16 (2d Cir. 2006).

                            Only the first element -- distinctiveness -- is relevant to this appeal.

             Generally, a plaintiff may plead distinctiveness by alleging that its trade dress

             has either inherent or acquired distinctiveness. Samara Bros., 529 U.S. at 210-11;

             Yurman Design, 262 F.3d at 115. A mark has inherent distinctiveness when it

             "serves to identify a particular source," such as "Camel" in Camel cigarettes and

             "Tide" in Tide laundry detergent. Samara Bros., 529 U.S. at 210-11 (quoting Two

             Pesos, Inc. v. Taco Cabana, Inc., 505 U.S. 763, 768 (1992)). Alternatively, a mark has

             acquired distinctiveness "if it has developed secondary meaning, which occurs


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             when, 'in the minds of the public, the primary significance of a mark is to

             identify the source of the product rather than the product itself,'" such as "Apple"

             in Apple computers. Id. at 211 (alteration adopted) (quoting Inwood Lab'ys, Inc. v.

             Ives Lab'ys, Inc., 456 U.S. 844, 851 n.11 (1982)). Although trademark plaintiffs

             may base their infringement claims on either type of distinctiveness, a trade

             dress plaintiff specifically alleging infringement of its product design must

             always plead -- and eventually prove -- acquired distinctiveness. See id. at 216

             ("[A] product's design is distinctive, and therefore protectible, only upon a

             showing of secondary meaning."); Yurman Design, 262 F.3d at 115 ("The product

             design plaintiff . . . must always make th[is] second, more difficult showing.").

                            At bottom, the distinctiveness requirement exists because a mark is

             only protectable when it is distinctive and not generic or overbroad. See Christian

             Louboutin, 696 F.3d at 216. In other words, a trade dress that is "overbroad" or

             "generic" is per se not distinctive and therefore not protectable. Yurman Design,

             262 F.3d at 115; see also Two Pesos, 505 U.S. at 768. Indeed, we have stressed as

             much on several occasions. In Jeffrey Milstein, for example, a company sought an

             injunction to prevent the defendant from copying the trade dress of its greeting

             cards, which comprised of "straight-on, strong photographic, glossy images of



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             animals, persons or objects on die-cut cards that are cut without bleed of any

             kind." 58 F.3d at 33 (quoting appellant's reply brief at 6-7). The district court

             concluded that this trade dress was generic because it "consist[ed] solely of

             common and functional elements," id. at 30, and we affirmed, holding also that

             "even [the requisite] showing of secondary meaning could not make that dress

             'distinctive'" or protectable, id. at 34. See also 1 J. Thomas McCarthy, McCarthy on

             Trademarks and Unfair Competition § 8:6.50 (5th ed. 2024) (observing that in Jeffrey

             Milstein, this Court "created a new category of things not capable of trade dress

             protection" that is "dubbed 'generic'"). 2

                    C.      The Articulation Requirement

                            Before a court may evaluate the three elements of a trade dress

             infringement claim, however, a plaintiff must clearly articulate what it seeks to

             protect. Accordingly, separate from -- and in addition to -- pleading the three

             elements of its claim, a trade dress plaintiff must also articulate with precision




             2              We have similarly concluded that the cosmetics industry's use of black,
             rectangular compacts and the soda industry's use of green cans for lime-flavored drinks
             have rendered both types of packaging "generic and hence unprotected." Fun-Damental
             Too, Ltd. v. Gemmy Indus. Corp., 111 F.3d 993, 1000 (2d Cir. 1997) (first citing Mana Prods.,
             Inc. v. Columbia Cosmetics Mfg., Inc., 65 F.3d 1063, 1070 (2d Cir. 1995); and then citing
             Paddington Corp. v. Attiki Imps. & Distribs., Inc., 996 F.2d 577, 583 (2d Cir. 1993)).
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             the specific components of its claimed trade dress in the complaint. See Landscape

             Forms, 113 F.3d at 381; Yurman Design, 262 F.3d at 116-18.

                            This so-called "articulation requirement" emerges from this Court's

             opinion in Landscape Forms, where we recognized that "there is no question that

             trade dress may protect the 'overall look' of a product." 113 F.3d at 381. In so

             doing, however, we also clarified that it is often a combination of components,

             rather than individual ones, that make up the overall look of a product and that

             renders the product's trade dress protectable. Id. And for that reason, we

             stressed the importance of articulating each of those components with precision

             and specificity: "[F]ocus on the overall look of a product does not permit a

             plaintiff to dispense with an articulation of the specific elements which comprise

             its distinct dress." Id. The articulation requirement thus requires trade dress

             plaintiffs bringing claims of product design infringement to separate out and

             clearly identify in a list the discrete components that make up its trade dress. See

             McCarthy, supra, § 8:3; Yurman Design, 262 F.3d at 116 ("[A] plaintiff seeking to

             protect its trade dress in a line of products must articulate the design elements

             that compose the trade dress.").




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                            As we explained in Landscape Forms and again in Yurman Design, the

             articulation requirement makes sense for several reasons. First, a precise

             articulation of the claimed trade dress provides a crucial guidepost for courts

             and juries to evaluate the merits of an infringement claim. Landscape Forms, 113

             F.3d at 381 ("Without such a precise expression of the character and scope of the

             claimed trade dress, . . . courts will be unable to evaluate how unique and

             unexpected the design elements are in the relevant market."); Yurman Design, 262

             F.3d at 117 (noting that no juror can evaluate a claim "without knowing precisely

             what the plaintiff is trying to protect"). Second, the lack of a precisely articulated

             trade dress may indeed reveal that a plaintiff's infringement claim should fail

             because it is "pitched at an improper level of generality, i.e., the claimant seeks

             protection for an unprotectable style, theme or idea." Landscape Forms, 113 F.3d

             at 381; see also Yurman Design, 262 F.3d at 117 ("The identification of design

             elements that compose the asserted trade dress will . . . assist in winnowing out

             claims that are overbroad as a matter of law."). Third, and perhaps most

             importantly, courts will be "unable to shape narrowly-tailored relief if they do

             not know what distinctive combination of ingredients deserves protection."

             Landscape Forms, 113 F.3d at 381; see also Yurman Design, 262 F.3d at 117 (noting



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             that competitors likely would not know which of its new designs would be

             subject to challenge "if a court is unable to identify what types of designs will

             infringe a trade dress").

                            Yurman Design itself provides a good illustration of this requirement.

             In that case, the jewelry company David Yurman ("Yurman") brought a trade

             dress infringement claim against another designer for allegedly copying its

             product line of twisted cable pieces. Yurman Design, 262 F.3d at 107. Yurman

             prevailed at trial, but this Court reversed the judgment because Yurman had

             failed to identify the specific components of its trade dress. Id. at 107-08, 117-18.

             To begin, it was not sufficient for Yurman to argue that "its trade dress could be

             discerned from an entire product line of 18 different Yurman pieces," id. at 114,

             because this articulation did not specify any component, common to all products

             in the product line, for which Yurman sought protection, id. at 118. Similarly,

             Yurman's best articulation of its trade dress -- "the artistic combination of cable

             [jewelry] with other elements" -- did not specify any component and was

             "altogether too broad to be a protectable, source-identifying expression." Id. at

             117-18 (alteration in original) (quoting appellee's brief at 33). This Court thus




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             concluded that the plaintiff's "failure to articulate the dress required dismissal of

             the Lanham Act claim as a matter of law." Id. at 114.

                            Although Yurman Design provides an excellent example of this

             Court's articulation requirement, that case did not clearly distinguish the

             articulation requirement from the core requirement that a plaintiff plead -- and

             eventually show -- the distinctiveness of its trade dress. And because we

             originally described the articulation requirement in the context of inherent

             distinctiveness, the distinction between the two has been blurry, and our

             prevailing explanation of the articulation requirement still refers to

             distinctiveness. See Landscape Forms, 113 F.3d at 381 ("[F]ocus on the overall look

             of a product does not permit a plaintiff to dispense with an articulation of the

             specific elements which comprise its distinct dress." (emphasis added)); id.

             ("Courts will also be unable to shape narrowly-tailored relief if they do not know

             what distinctive combination of ingredients deserves protection." (emphasis

             added)). This had led courts -- including panels of this Court in nonbinding

             decisions -- to erroneously incorporate distinctiveness into the articulation

             requirement. See, e.g., APP Grp. (Can.) Inc. v. Rudsak USA Inc., No. 22-1965, 2024

             WL 89120, at *1 (2d Cir. Jan. 9, 2024) (summary order); Int'l Leisure Prods., Inc. v.



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             FUNBOY LLC, 747 F. App'x 23, 25 (2d Cir. 2018) (summary order); Eliya, Inc. v.

             Steven Madden, Ltd., 749 F. App'x 43, 47 (2d Cir. 2018) (summary order); GeigTech

             E. Bay LLC v. Lutron Elecs. Co., 352 F. Supp. 3d 265, 276-77 (S.D.N.Y. 2018).

                            Our sister circuits, however, have adopted and regularly apply

             articulation requirements that are separate and independent from

             distinctiveness. At least one -- the Sixth Circuit -- has explicitly distinguished the

             articulation requirement from the distinctiveness requirement. See, e.g., Gen.

             Motors Corp. v. Lanard Toys, Inc., 468 F.3d 405, 415-16 (6th Cir. 2006) ("Before

             addressing the application of the trade dress infringement elements, we must

             first address [defendant's] challenge to . . . what that trade dress is comprised

             of."). Other courts, meanwhile, at a minimum analyze a plaintiff's articulation of

             the components of their claimed trade dress separately from its distinctiveness.

             See, e.g., Joason Scott Collection, Inc. v. Trendily Furniture, LLC, 68 F.4th 1203, 1213-

             14 (9th Cir. 2023); Bimbo Bakeries USA, Inc. v. Sycamore, 29 F.4th 630, 637, 639 (10th

             Cir. 2022); Fair Wind Sailing, Inc. v. Dempster, 764 F.3d 303, 310 (3d Cir. 2014)

             (referring to distinctiveness but dismissing a claim because the plaintiff "failed to

             give [d]efendants adequate notice of what overall look it wishes to protect"); Test

             Masters Educ. Servs., Inc. v. State Farm Lloyds, 791 F.3d 561, 567 (5th Cir. 2015)



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             (finding that the plaintiff did not allege a trade dress infringement claim because

             the plaintiff did not provide any "allegations describing the content or overall

             image of [the plaintiff's] website").

                            We thus clarify that distinctiveness is independent of the articulation

             requirement. Distinctiveness is an element of a trade dress infringement claim to

             be pleaded in a complaint and shown at trial. See Samara Bros., 529 U.S. at 210.

             The articulation requirement, by contrast, is a pleading requirement under which

             plaintiffs must articulate precisely the components that compose their claimed

             trade dress. See Yurman Design, 262 F.3d at 116. And because the prevailing

             purpose of the articulation requirement is to help courts (and eventually juries)

             evaluate the elements of a trade dress claim, see Landscape Forms, 113 F.3d at 381;

             Yurman Design, 262 F.3d at 117, a plaintiff meets this requirement by describing

             with precision the components -- i.e., specific attributes, details, and features --

             that make up its claimed trade dress. The exact level of precision required will

             no doubt vary from case to case and the specific trade dress alleged, but

             generally, the description offered must be sufficiently precise as to some specific

             combination of components present in the trade dress (such as materials,

             contours, sizes, designs, patterns, and colors) so as to permit courts and juries to



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             adequately evaluate the underlying claims at the appropriate juncture. And

             these articulation requirements apply regardless of whether the asserted trade

             dress derives from a line of products or from an individual product.

                            To be clear, a plaintiff may satisfy the articulation requirement even

             if the components described arguably render the trade dress overbroad, generic,

             not distinctive, or functional. In other words, a plaintiff that articulates the

             components of its trade dress with the requisite precision should not have its

             claims prematurely dismissed. Whether, once a plaintiff has met the articulation

             requirement, it has sufficiently pleaded the three elements of an infringement

             cause of action -- distinctiveness, likelihood of confusion, and nonfunctionality --

             is a different question. The articulation requirement therefore achieves multiple

             aims: it permits courts to dismiss infringement claims before having to analyze

             the underlying merits if the alleged trade dress is impermissibly vague, while

             also ensuring that courts and juries have before them only those sufficiently

             precise trade dresses that will aid in their determination of the merits of an

             infringement claim. See, e.g., Yurman Design, 262 F.3d at 117 ("We need not

             decide whether Yurman could formulate a description of design elements to

             support a trade dress claim sufficient to protect a line of Yurman jewelry,



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             because Yurman has not even offered one for our consideration."). And

             crucially, the requirement achieves these aims while ensuring that infringement

             claims by plaintiffs who articulate the components of their trade dresses with the

             requisite precision are not prematurely dismissed.

             III.   Application

                            We now turn to the instant case. For the reasons outlined below, we

             conclude that the district court erred by dismissing Cardinal's trade dress claims.

                            First, the district court erred by incorporating a distinctiveness

             requirement into its articulation analysis. In purporting to resolve whether

             Cardinal articulated a trade dress with precision, the district court also observed

             that "there is no precise expression of the trade dress if it amounts to a claim over

             a general category of features," and then faulted the description as "so detailed

             that it renders the claimed trade dress too broad." Cardinal Motors, 2023 WL

             6257938, at *4. But that reasoning only holds under the distinctiveness analysis,

             not the threshold articulation analysis. See id. at *5 (concluding that "[Cardinal]'s

             expression of the trade dress independently fails to allege how the features of

             [T]he Bullitt are distinctive"). And as described above, a plaintiff satisfies the

             articulation requirement by listing with precision the features that comprise its



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             trade dress -- distinctiveness, in other words, is not at issue at this juncture. See

             McCarthy, supra, § 8:3 ("[T]he discrete [components] which make up that [trade

             dress] must be separated out and clearly identified in a list."). Here, the General

             Trade Dress consists of several specific attributes, features, and design details of

             The Bullitt, such as a "curved top," "thin chin protector," "relatively large eyeport

             height (compared to the height of the chin protector)," "a single-level non-

             stepped chin bar surface," "a thin chin bar height substantially thinner than the

             eyeport," and "a large diameter pivot point escutcheon." App'x at 272-73; see also

             Appellant's Br. at 5-6. The components alleged thus appear to be particular

             features that together form a precise articulation of the trade dress, as opposed to

             "a general category of features," as the district court describes them. Cardinal

             Motors, 2023 WL 6257938, at *4. Because that articulation is sufficiently precise as

             to the specific combination of components that comprise The Bullitt's trade dress,

             we conclude that the General Trade Dress satisfies the articulation requirement.

             The district court not only erred in ruling otherwise but also in incorporating

             distinctiveness in that analysis. See id. at *5. 3



             3            It was also error for the district court to conclude that the General Trade
             Dress was insufficiently precise because Cardinal relied on "a mere mix-and-match
             comparison between certain features of The Bullitt and the other helmet designs" to
             allege The Bullitt's trade dress. Cardinal Motors, 2023 WL 6257938, at *5 (referring to
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                            Second, we hold that the district court erred by dismissing the

             Detailed Trade Dress based solely on its dismissal of the General Trade Dress.

             See id. ("Because the [Detailed] Trade Dress rests in substantial part on the

             General Trade Dress upon which [Cardinal] fails to state a claim, the Court need

             not consider the sufficiency of the alleged [Detailed] Trade Dress separately.").

             That logic is backwards. To be sure, the Detailed Trade Dress contains

             substantively all of the components listed in the General Trade Dress. But

             dismissal of one trade dress based on the other would only make sense if the

             district court had concluded that the Detailed Trade Dress was insufficiently

             precise, thereby requiring dismissal of the General Trade Dress because it is the

             less inclusive of the two. The district court erred by doing the opposite and by

             failing to address the Detailed Trade Dress at all.

                            Third, even if the General Trade Dress does not satisfy the

             articulation requirement, we conclude that the Detailed Trade Dress does. In




             comparison of other helmet designs at App'x at 275). In Yurman Design, we held that
             the alleged trade dress failed to meet the articulation requirement because the plaintiff
             merely argued that its trade dress could be discerned from a product line of eighteen
             different pieces, and it did not specify any component of its trade dress. 262 F.3d at 117-
             18. Here, even if, like Yurman, Cardinal relies on a comparison of features to allege the
             component of its trade dress, unlike Yurman, Cardinal provides the requisite list of the
             specific components that make up its claimed trade dress.
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             addition to the features enumerated in the General Trade Dress, it lists additional

             features like the "metallic reflective borderline near the forward opening" and

             "internal jig saw puzzle part V-shaped cheek pads with their combination of

             brown shiny leather and suede leather." App'x at 285. This detailed list of the

             components of The Bullitt's trade dress is more than precise enough to enable a

             court or jury to evaluate the elements of Cardinal's trade dress infringement

             claim and therefore satisfies the articulation requirement.

                            Although we conclude that Cardinal sufficiently articulated the

             features of its trade dress, that conclusion of course does not mean that Cardinal

             has pleaded a plausible trade dress infringement claim. On remand, the district

             court will have to address whether the TAC sufficiently pleads Cardinal's claims,

             i.e., whether Cardinal has plausibly alleged the three elements of a trade dress

             infringement claim. Thus, while we have concluded that Cardinal offered a

             precise articulation of its trade dress, the question still remains whether Cardinal

             has pleaded, as a matter of law, that its dress is protectable. In other words, the

             district court on remand still must consider, based on the allegations in the TAC,

             whether the trade dress is distinctive, likely to cause confusion, and

             nonfunctional. See Yurman Design, 262 F.3d at 115-16; 15 U.S.C. § 1125(a). Our



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             holding is narrow in this regard, and the district court is free to consider the

             other issues it outlined in its opinion -- namely, distinctiveness. 4

                                                 CONCLUSION

                            For the foregoing reasons, the judgment of the district court is

             VACATED and the case REMANDED for further proceedings.




             4              On remand, the district court should also address Cardinal's state law
             claims of unfair competition. We also note that Cardinal has invoked the district court's
             diversity jurisdiction, which H&H does not appear to contest. Therefore, even if the
             district court were to ultimately dismiss Cardinal's federal claims on remand, the court
             should nonetheless address whether it has an independent jurisdictional basis to
             consider Cardinal's state-law claims and, if so, whether Cardinal has alleged sufficient
             facts to support those claims.
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